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                                      UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF IOWA



                Jodi Nash
                Tony Nash


                        Plaintiff                            JUDGMENT IN A CIVIL CASE
                 v
                                                             CASE NUMBER: 4:08-cv-00061
                 Booth and Associates




                        Defendant

                 JURY VERDICT . This action came before the Court for trial by jury. The issues have been
         tried and the jury has rendered its verdict.

                DECISION BY COURT. This action came before the Court. The issues have been
         considered and a decision has been rendered.


            IT IS ORDERED AND ADJUDGED:
Judgment be entered in favor of plaintiffs Jodi Nash and Tony Nash and against defendant Booth and Associates,
P.C. as follows: Plaintiff Jodi Nash is awarded damages totaling $2,000.00 ($1,000.00 in actual damages under the
FDCPA, $500.00 in statutory damages under the FDCPA, and $500 in punitive damages under Iowa Code §
537.5201(1)).
Plaintiff Tony Nash is awarded damages totaling $2,000.00 ($1,000.00 in actual damages under the FDCPA, $500.00
in statutory damages under the FDCPA, and $500 in punitive damages under Iowa Code § 537.5201(1)).
Plaintiffs' request for injunctive relief under Iowa Code § 537.5108(2) is GRANTED, and defendant IS ORDERED
not to engage in unconscionable conduct toward plaintiffs in collecting the debt at issue.
Plaintiffs' motion for award of attorney fees is GRANTED, and plaintiffs are awarded $2,240.00 in attorney's fees
and $385.00 in costs.

         Date: December 8, 2008                              CLERK, U.S. DISTRICT COURT


                                                             /s/ G.Kampling
                                                             ______________________________
                                                             By: Deputy Clerk
